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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 MARK ENSMINGER, on behalf of himself
 and those similarly situated,

             Plaintiff,
                                                       Case No. 19-2147-JWL
             v.

 CREDIT LAW CENTER, LLC, et al.,

             Defendants.

                     SEVENTH AMENDED SCHEDULING ORDER

        Plaintiff has filed an unopposed motion (ECF No. 120) to amend the scheduling

order originally filed on June 17, 2019 (ECF No. 26). For good cause shown in the motion,

it is granted and the scheduling order is amended as follows:

        a) The fact discovery deadline is extended through November 20, 2020, for the

            sole purpose of allowing the independent expert sufficient time to extract the

            Transaction Log data and Credit Report Audits.

        b) Disclosures required by Fed. R. Civ. P. 26(a)(2), including reports from retained

            experts, must be served by plaintiff by December 21, 2020, and by defendant

            by January 19, 2021; disclosures and reports by any rebuttal experts must be

            served by February 19, 2021.

        c) Any motion for class certification must be filed by March 23, 2021.

        All other provisions of the original scheduling order shall remain in effect. The

schedule adopted in this amended scheduling order shall not be modified except by leave

of court upon a showing of good cause.


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 IT IS SO ORDERED.

 Dated November 9, 2020, at Kansas City, Kansas.

                                  s/ James P. O=Hara
                                 James P. O=Hara
                                 U.S. Magistrate Judge




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